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Attorne s for Defendants

SLAU HTER, LLC, MAVERICK FILMS, LLC,
ANGEL BABY ENTERTAINMENT, MARK MORGAN,
And CHERI WOZNIAK

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JUAN OSORIO, individually and On behalf CASE NO.:

     

of all others similarly Situated, ‘ cv 0 8 _ 0 1 6 4 4 §§ §§
_ ' DEFENDANTS’ NOTICE
Plamtlf£ 0F REMovAL 0F ACTION
V' UNDER 28 U.s.C. § 1441(b)
(FEDERAL QUESTIGN)

SLAUGHTER, LLC', MAVERICK FILMS, LLC;
ANGEL BABY ENTERTAINMENT; MARK
MORGAN; CHERI WOZNIAK; and DOE ONE

through and including DOE ONE HUNDRED,

Defendants.

 

 

 

NOTICE OF REMOVAL

 

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TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendants, SLAUGHTER, LLC., MAVERICK
FILMS, LLC., ANGEL BABY ENTERTAINMENT, MARK MORGAN, CHERI
WOZNIAK (collectively “Defendants”), hereby remove the above-captioned action
pursuant to 28 U.S.C. § 1441 from the Superior Court of the State of California for the
County of Los Angeles to this Court, and respectfully state the following:

l. On January 31, 2008, Plaintiff, Joan Osorio, individually and on behalf of
all others similarly situated, filed this action in the Superior Court of the State of
California for the County of Los Angeles against Defendants entitled Juan Osorio,
individually and an behalf of all others similarly situated v. Slaughter LLC, Maverick
Films. LLC, Angel Bal)y Entertainment, Mark Morgan, Cheri Wc)zniak and Doe One
through and including Doe One Hundred, Case No.: BC384733. A true and accurate
copy of the Summons and Complaint is attached hereto as Exhibit “A.”

2. Defendants first received a copy of the Summons and Complaint on
February 14, 2008. Therefore, pursuant to 28 U.S.C. § l446(b), this Notice of Removal
is timely filed because thirty (30) days have not elapsed since receipt of a copy of the
Summons and Complaint by Defendants. By filing this Notice of Removal, Defendants
do not intend to Waive, and hereby reserve, any objection as to service, personal
jurisdiction, and all other defenses.

3. According to the Summons and Complaint, Plaintiff alleges, inter alia, that
Defendants violated the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. by: (a)
failing to pay the minimum Wage in violation of 29 U.S.C. § 206; and (b) failing to pay
overtime in violation of 29 U.S.C. § 207.

4. This action is a civil action of Which this Court has original jurisdiction
pursuant to 28 U.S.C. § 1331, and is one Which may be removed to this Court pursuant
to 28 U.S.C. § l44l(b) in that it arises under the provisions of the Fair Labor Standards
Act, 29 U.S.C. § 201, et seq. §

5. No proceedings have been had in this action.

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6. Venue is proper in this Court because it is “the district and division
embracing the place where such action is pending.” 28 U.S.C. § 1441(a). Therefore,
pursuant to 28 U.S.C. § 84(c), this action is properly removed to the Central District of
California, Western Division.

7. All Defendants consent to this removal.

8. No previous application for the relief sought herein as been made.

9. Pursuant to 28 U.S.C. § 1446(a), true and accurate copies of all papers,
other than the Summons and Complaint filed in this action are attached hereto as
Exhibit “B.”

10. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal Will be
served upon counsel for Plaintiff and a copy Will be filed With the Clerk of the Superior
of the State of California for the County of Los Angeles.

WHEREFORE, Defendants respectfully remove this action from the Superior
Court of the State of California for the County of Los Angeles to this Court pursuant to

28 U.s.C. § 1441.

Dated: l\/[arch ___, 2008 VENABLE LLP

 

Donald W. Yoo

Attorne s for Defendants

SLAU HTER, LLC, MAVERICK
FILMS, LLC, ANGEL BABY
ENTERTAINMENT, MARK MORGAN,
and CHERI WOZNIAK

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EXHIBIT A

 

 

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NOTlCE TO DEFENDANT: v C OF ORIG[NAL FILED

(A V|SO AL DEMANDADO):

Los Angeles Superior Court

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(LO ESTA DEMANDANDO EL DEMANDANTE).’

IUAN OSORIO, individually and on behalf of all others similarly

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CIV|L CASE CCVER SHEET ADDENDUM AND STATEME`NT OF LOCAT|ON
(CERTlFlCATE OF GROUNDS FOR AS_`S|GNMENT TC COURTHOUSE LOCATION)

This form is required pursuant to LASC Looal Rule 2.0 in eli new civil case filings in the Los Angeles Superior Court.
item i. Check the types of hearing and fill in the estimated length of hearing expected for this case:

 

 

 

 

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item ll. Selecl the correct district and courthouse location (4 steps - if you checked “Limiiecl Case'. skip to item iil. Pg. 4):
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the left margin below, and. to the right in Coiumn'A, the Civil Case Covor Sheet case type you selected
Sfep 2: Che'ck ggg Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: in Coiumn C, circle the reason for the court location choice that applies to tho'lype of action you have checked
For any exception to the court location. see Los Angeles Superior Court Local Ruie 2.0.

 

 

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Osorio v. Slaughter, LLC.. et al

 

 

 

 

item iii. Statement of Locaiion: Enter the address of the accident1 party’s residence or place of business. performance or
other circumstance indiwied in item li., Step' 3 on Page 1, as the proper reason for filing in the court location you seiected.

 

 

 

 

 

 

 

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Los Angeles CA 9006.4

 

item iV. D'eclamiion of Asslgnmen!: i declare under penaity.of perjury under the laws of the Staie of Caiifomia that the foregoing is

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subds. (v), (c) and (d)).

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~ P_LEASE HAVE THE FO_L_L_O_V_V|NG i`i”_EM_$ C,OMP\_.;ET_ED-AND READY TO B_E FlLED iN ORDER TO ~
`j PROPERLY COMMENCE ‘(OUR'NE-W COURT CASE:

 

 

 

Originai Compiaint cr Petition.

if friing s Compiaint, a completed Summons form for issuance by the 'Cierk

civu casecove'r sheer mm cM-oro.

Compiete Addendum io Civii Case Cover Sheet form LACiV 109 (Rev. 01/07). LASC Appr'oved 03-04.
Payment in fuii of the filing fee. unless fees have been waived.

9’.°';“$*’.'°._‘

Signed order appointing the Guardian a_d Litem, JC form FL~935, if the piain!iff or petitioner is a minor
under 18 years of age. or if required by Court

7. Additicnai copies of documents to be conformed by the Cier`k. Copi'es~of the cover sheet and this addendum
must be served along with the summons-and compiaint. or other initiaan pleading in the mse.

 

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Los Angeics, Califomia 90036

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factors requiring exceptional judicial management

a. m Large number ot separately represented parties d. [____] barge number of witnesses
b. [___] Extenslve motion practice raising dlflicult.or novel e. m Coordination with related actions pending in one or more courts
issues that will batiste-consuming to~resolve in other counties. states. or countries. or in a federal court
a i::l Sut)standai smount»of documentary evidence i. [:i Substantiai postjudgment judicial supervision
3. Type of remedies sought await ali that appiy):
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5. Tlliswse is [:.] isni`)t aclassactionwii.
8. lt there are any known related 'cases. file and serve a notice of related case. (Vou ay use form CM'01 )
cater January 31, 2008 , ' '
A=~_ian Harris - . . ~ }
men emm'lrme) _

 

- Notice ' '

¢ Plaintiff must tile this cover sheet vrltii'tiialilrst.paper filed in the action or proceeding_-'(except small claims cases or cases tiled
under the Probabo Code, Famiiy Code, or`Weifai'e.and institutions Gode). (Ca|. Ruies of C`ou'r't. rule 3.-220.) Faiiure to tile may result
in sanctions

' Fiie this cover sheet in addition to any cover sheet required by local court ruie.

' it this case is cornple)tunder rule 3.400 at seq..cf tile Cailiornia Ruies of Court. you must serve a copy of this cover sheet on all
other parties to.the action or proceeding

- Unless this is a complex cese'. this cover sheet will be.-uae_d.foi' statistical purposes oniy.

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Alan Ham's SBN 14607§§§3
Matthew E. avanaugh ( N 239961)
HARRIS & RUBLE

5455 Wilshire Blvd., Suite 1800
Los An eles, CA 90036

Tel: 32 .931.3777

Fax: 323.931.3366

Attomeys for Plaintiff

sUPERIOR COURT OF THE sTATE OF CALIFORNIA
FOR THE~ ~'COUN'I'Y-~ ~~ » OF~LGS~‘»ANGELES

CEN'I'RALDISTRICT 88584733

JUAN OSORIO, individuq,lly and Case No.:

on behalf of all others sr~nularly

situated COMPLAINT _

Ciass A/3_\<>_t10n and Coliecttve Action
Plaintiffs, ornpiamt]
vs. 1. § _203 Caiifo'mia Labor Code,
Contmuing Wagcs

sLAUGHTER, _LLc. MAVERICK
FILMS, LLC. ANGEL BABY
ENTERTANMENT MARK
MORG_AN., cHERI WQerA;< and
DOE ONE throu and mcludmg
DOE 0NE - RED,

Defendants.

 

Los Angeles superior wm t

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Los Ang S Court
BY MAR‘¢` G . D€i>“‘i/

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BY MARY Q. iLCIA, D¢,*prrty

2. 226 California Labor Code,
Fai ure to Provide Infonnation on
Pay. Stubs

3. §§ 510 and 1_194 Califomia
Ldbor Code_ Fatlure to Pay_
Mlmmum _ age and Overttme
Compensatton

4. .2_9 U.S.C. § 206, F ailure to Pay
Mmtmum Wage

5. 29,U.S.C. § 207, Failure to Pay
Overttme Wage

6. § 17200' et seq. Cal Bus & Prof
Co _e, Rcstttutlon,. Dis§orgement of
Prot`tts and ‘Injunctive chef

DEMAND FOR 'I`RIAL BY JURY

 

COMPLAIN'I`

 

 

 

l _ paso 2:08-cV-01644-RGK-:AJ,\;/V Document 1 Filed 03/10/08 Page 12 of 44 Page |D #:14

1 COMES NOW Plaintiff, and for his causes of action against D'efendants, alleges as
follows: -
JURISDICTION AND VENUE

(1) This is a civil action seeking continuing wages, restitution, injunctive relief,

 

damages and attorneys’ fees and costs by reason of Defendants’ violations of various
sections of the Cali.fomia Labor Code, Fair Labor' Standards Act (“FLSA”), and section
17200 et seq. of the California Business ad Professions Code. 4

(2) Pursuant to California Code» of Civil Procedure § 382, Plaintiff brings this case

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individually andas a class andcollective"'acti'on"on behalf of employee classes-consisting- --
10 of individuals employed by Defendants in Californi-a..on the production of a motion

11 picture.

12 (3) Venue as to Defendants is proper in this judicial district, pursuant to California

13 _Business & Professions Code § 17203 and Caiifornia Code of Civil Procedure §§ 395(a)
14 and 395.5. Defendants maintain offices, transact business, have an agent, or are found in
15 the County of`Los Angeles and are within the jurisdiction of this Court for purposes of
16 service of process. The unlawful acts alleged herein had a direct effect on and were

17 committed within the State of California.

18 .IZ;ABILE_§.
19 (4) JUAN OSORIO (“Osorio” or “P-laintifl”) is an individual, Who, during the time

20 periods relevant to this Complaint, Was employed within the County of Los Angeles,
21 State of Califomia. OSORIO is a resident of the County of Los Angeles, State of

22 california '

23 (5) SLAUGHTER, LLC. (“Slaughter LLC”) was and is a California Limited

24 Liability Corporation, which at all times relevant herein, conducted business within the
25 County of Los Angeles, State of California. Slaug.hter LLC employed Osorio and

26 members of the putative class (“Members” or “Clas's _Members”) on a motion picture

27 production entitled “Slaughter” (the “Production”) within the county of Los Angeles,
28 State cf California.

 

 

 

 

,, Case 2:08-cV-01644-RGl§-A,]W Document 1 Filed 03/10/08 y,F’<'the 13 of 44 Page |D #:15

1 (6) MAVERICK .FIL`MS; LLC. (f"Maverick"’) was and is a Delaware Limited

2 Liability Corporation, which at all times relevant herein, conducted business within the

3 County of Los Angeles, State of California. On information and belief, Maverick owned

4 a majority interest and started Slaughter LLC, which was formed solely for the purpose

5 of producing the Production. At times relevant hereto, Maverick maintained control over

6 and benefited from the employment ofPlaintiii` and Class Members on the Production.

7 (6) ANGEL BABY ENTERTAINMENT (“Angel”) was and is a New York

8 Company, which at all times relevant herein, conducted business within the County of

9~' ~~Los~ Angeles,v ' State of-Cal-ifomia- v-()n.»in»'é`orn-iation»andlaelief,_Angel_owned_artin.terest .
10 and started Sl-aughter LLC, and provided funding to Slaughter LLC for the Production.
11 l At times relevant hereto, Angel maintained control over and benefited nom the _
12 employment of Plaintiff and Class Members on the Production.
13 (7) Defendant MARK MORGAN (“Morgan”) was an employee and the president
14 of- Maverick. Morgan was,and- is an officer ofSlaughter LLC. At times relevant hereto,
15 v Mcrgan maintained control over the employment of Plaintiff and Class Members on the
15 Production. Morgan is a resident of the County of Los Angeles, State of California.
17 (8) Defendant CHERI WOZNIAK (“Wozniak”) was an employee and president of
18 M-aver-ick. Wozniak was and is an oH;ieer of Slaughter LLC. At times relevant hereto, _
19 Wozniak maintained control over the employment of Plaintiff and Class Members on the k
20 Production. Wozniak is a resident of the County of Los Angeles, State of California.
21 (9) Defendants DOE ONE through and including DOE ONE HUNDRED are sued
22 herein under the provisions of section 474, Code of Civil Procedure. Plaintiff is unaware
23 of the true names, identities or capacities, whether corporate, individual or otherwise, of
24 said iictitiously name defendants, but leave of Court will be prayed to amend this
25 pleading to insert the same herein when finally ascertained Plaintiff is informed,
26 believes and thereupon alleges that-.each~ofthe 'tictitiously named defendants is. an entity,
27 which during the relevant time period maintained a place of business in the County of
23 Los Angeles, State of California.

3

 

 

 

 

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GENERAL ALLEGATIONS

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2 (7) Defeudant employed OS=ORIO on-.the Production as an assistant chief lighting
3 technician, from on or about December 1, 200-7 through on or about December 13, 2007.
4 Osorio was to be compensated at a base rate of$18.53 per hour for the first eight hours, a
5 rate of $27 .80 per hour for hours worked between eight to twelve hours in a day, and
6 $37.06 per hour for all hours worked in excess of twelve per day. Defendants owed
7 Osorio $1167.3’9 for his first week’s work, and $555.90, for his second week of work.
3 (8) OSORIO was discharged from the Production on or about December 13, 2007,
- 9~~ ~~~but wasth -pa-id~for his work performed-t To .date, .D.efendants haveth paid Osorio any
10 of his outstanding wages. Though Defendants initially indicated they were going to
11 continue filming on the Production in December 2007 , they have not provided Osorio or
12 any other Class Member a return date for additional employment Filming has not
13 continued on the Production as Defendants initially indicated
14 (9) Upon information and belief, all individuals who were employed on the
15 Prod-uction as crewmembers were not paid for the work they performed during the same
16 period Osorio was employed
17 (10) ln or about the second week of January 2008, Morgan called Osorio. Morgan
18 apologized for the delay in payment of Osorio”s wages, and promised that the wages
19 would be paid immediately Osorio was not contacted by Morgan thereafter, and no
20 wages were paid1
21 (l l) At all relevant times mentioned herein, section 201 of the Calit`ornia Labor
22 ' Code, which deals with the payment of wages for employees discharged from service,
23 provided that payment of wages shall be made immediately after discharge Section 202
24 of the Cali-fornia Labor Code provides for payment of quitting employees within 72
25 hours.
26 (12) Defendants may contend that section 201-~.5 of the Califomia Labor Code
27 controls its final payments to employees .S'ection 201.5 of the California Labor Code
28 provides a discharged employee shall -:be paid-by the next regularly scheduled payday.

 

 

 

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1 (13) Defendants did not compensate.OSORIO and Class Members as required by
2 sections 201 and/or 201.5 of the California Labor Code. ‘
3 (14) At all relevant times mentioned herein, Scction 203 of the California Labor
4 Code provided:
5 If an employer willfully fails to 2paly, without abatement or reduction, in
accordance with Sections 201, .0 .5, 202 and 202.5, any wages of an
6 ern lo ee who is discharged or who quits, the wages of the em lo ee shall
P Y P Y
continue as a penalty form the due date thereof at the same rate until aid or
7 until action therefore is commence; but the wages shall not continue or
8 more than 30 :st.
,.9.. _ trainmenancontend€ahfmawbor€<>de§20__.1.¢__5___aar_li_a§_sv§af¢ everett
10 then sections 204 and 210 of the Califorriia Lab'or Code also apply.
n (16) At all times relevant herein, section 204 of the Califomia Labor Code
12 provided in part:
13 All wa_ es,.other than those mentioned in Seetion 201, 202 204.1_ or 204.2,
earned y any person in any employment are due and payable twice d '.
14 each calendar month, on days designated in advance by the employer as e
regular paydays.
15
16 (l 7) By failing to pay OSORIO and Class Members all wages when due, the
17 Defendants violated section 204.
18 (18) At all times relevant herein, section 210 of the Califomia Labor Code
19 provided:
20 In addition to,_and entirely independent and apart from any other enalty
provided in this article7 every person who fails to pay 1 e wages o each
21 em lo ee_ as p)r,ovide.d m Secti__or_is 204_, 204b', 204. , 204.2, 2 5, 20§.5 and
ll 7 ._ , shall e subject to a civil 1pena'=l-_ty as follows: (a) For any initial v
22 violation, one hundred dollars _.($ .00) for each failure to pay each employee;
(b) Fo'r each subsequent violation, or an willful or intentional violatio
23 two hundred dollars $-200) for eachfar u're to pay each employee, plus ' 5
percent of the amoun unlawfully withheld
24
(l9) At all relevant times mentioned herein, § 510 (a)'of. the California Labor Code
25
provided:
26
Ei t hours _of labor constitutes a -day’-s _wor-k._ vAny work in excess of
27 ei ~t.hcur-s. in one,workday~agtd any.w ‘rk~.i-n excess-of 40 hours,in an
one workweek=,»and; the nest-eight hours worked on the vsev.enth_- da o
28 work in-any--onez'worlcweek-'shall`>bet»’compensated'at-the rate of at east~one

 

 

 

 

§§ase 2:08-cV-01644-RG§?}§\JW Document 1 Filed OS/lO/OS% Page 16 of 44 Page |D #:18

 

1 and one-half times=.the regular rate of pay .fo'r an enéployee. Any Work in
excess i_)f 12 hours in one day shall be compensate ' at the r_ate of no less
2 than twice the re ular rate o~ - pay for-an emplo ee. In addition, any work
in excess of eigh hours on any seventh day o a workweek hall be ~
3 com ensated at the _rate <_)f no _ess than‘twice the regular rate of pay of an
emp oyee. Nothing in,this section requires an employer to combine more
4 than one rate of overtime compensation in order to calculate the amount
to be paid to an employee for any hour of overtime work. The ,
5 requirements of this section do not apply to the payment of overtime
com ensation to an employes working pursuant to any of the following
6 l An alternative wor_ eek scheduleadopted pursuant to Section §l l.
2 Ai_i alternative workweek schedule adopted pursuant to a collective
7 argainmg agreement pursuant to Sec'tion 14.
8 (20) ln regard to the employment of OSORIO and Class Meinbers, the provisions
_ _9___, __.Of_SubparagraphS,(_1__)__31;¢1.(.2).,ofSection..,$,l._o..of..the..Labor.Code,..were inapplicablemthat,. _
10 no alternative workweek schedule had been adopted pursuant to Section 51 1 and
11 Plainti£f’ s employment to Which reference is hereinaRer made was not governed by any
12 collective bargaining agreement
13 (21) At all relevant times mentioned herein, § 1194 of the Cal-ifornia Labor Code
14 provided:
15 Notwithstanding' an agreement to work'for a lesser w e, any employee
receiving less -t'lia_n".v 'e ;e_gal nnnin'ium wage or the lega overtime _ _
16 compensation applicable to the employee is entitled to recover in a civil
action the unpai balance of the full amount of this minimum wage or
17 overtime;compensation, including interest thereon, reasonable attorney’s
fees, and costs of suit.
18
19 (22) 'l'he Fair Labor Standards Act provides, in pertinent part:
20 Except as otherwise provided in this section, no employer shall employ any
of his employees who in any workweek is engaged in commerce or in the
production of goods for commerce, or is em oyed in an enterprise enga ed
21 in commerce or in the production of goods or conunerce, for a workwee
22 longer than forty hours unless such employee receives compensation for his
employment in exgess of the hours above spleicified at a rate not less than
2 one and one-half times the regular rate at w ch he is employed 29 U.S.C.
3 §§ 206 and zov(a)(i).
24 (23) Accordingly, pursuant to-29 U.S.C. § 216, OSORIO»and Class Members are
25 entitled to damages according to proot-`, liquidated damages, attorney’s fees, and costs of
26 suit.
27 (24) At all relevant times mentioned herein, section 558 of the California Labor
28
6

 

 

 

 

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n-»

Code provided:

(a) Any employer or other person actin on behalf of an employer who
violates, or causes t_o be violated, a_sec ion of this chapter or an revision
regulating hours and da§s of work in_ any order of the ndustria elfare
Comii_iission shall be su _gect to a civil penalty as follows: f(l) For any initial
violation, fitty dollars ($ v0) for each underpaid em loyee or each pay
period for which the em loyee was unde " aid in a dition to an amount
sufficient to recover un e aid wa es. l2 For each subsefguent violation,
one hundred dollars ($l-O(§i: for eac un rpaid.em§lo ,ee 'or each pay
period for which the eméaloye_e was nude aid in a di \ on to an amount
sufficient to recover un erpaid wa es._ (l§§ Wages recovered pursuant to this
section shall be paid to the affecte' emp oyee.

(25) Plaintiff and Class Members were not timely paid the minimum wages or

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overtime to which they were entitled

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(26) At all relevant times mentioned herein, Section 226 of the California Labor
Code provided:

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(a) Eve emplloyer shall, semirnonthl or at the time of each a ent of
wages, gun s ' each of his or herein oyees either as a detac a le part of
the check, drati, or.voucher payin _ e employec’s wage_s, or separately
when wages are paid by personal c eck or cash, an itemized statement in
writing s owing (P gross wa es earned, (2) total hours worked by the
employee, except__ or any em _` oyee whose compensation is solel w based on
a sal - and who is exempt 'om- pa :e'i_it of overtime under sub vision (a)
of Se ion 515 or any applicable pr er of the industrial Welfare v
Comrriiss-ipn, (3) the number of iece-ra_`te units earned and any applicable
piece rate if the employee is pai on a piece-rate basis, (4) all de uctions,
rovided, that all deductions made on written orders of the em loyee may
ge aggregated and shown_as one item (5) net wages earn ' - e
inclusive dates of the period for.,which the employee is pai , the name of
the empl'o ee and his or her social securit!y number, §) the name and
address o the legal entity that is_tlie em _oyer, and ( ) all applicable hourly
rates in effect dunn the a period an the corres onding number of hours
worked at each hour ra e- y the employee The eductions made from
pa 1 ents of wa es s all be recorded in ink or other indelible form, properly
da 'ed, showing ' montJ-'i.hgaly, and year, and a copy of the statementh a
record of the eductions s- l be kept on file by the employer for at least
three years at the place of employment or at a central location within the
State of California. 0 _ _ . _ ‘
¥e) An employee suffering injui?' as_a result.ot` a knowing and intentional
ailure by an em lo- cr to comp 'y with subdivision §a is entitled to recover
the greater of al ac‘» al damages or fifty dollars ($ 0 ' for the initial pay
period in which a violatipn occurs and one hundred dollars ($ 100) per
employee for each violation in a subse?.uent$pay ;Beri'od, riot exceeding an
aggre ate penalty of four thousand dol `ars-( .4,0 _0), and is entitled to an
awar of costs and reasonable attorney's fees.

NN>-lr-l¢-¢>-‘»-l¢~‘»-\
8‘5"$§€3§~¢@¢¢~.»¢~\»»¢»

(27) Plaintiff and Class Members were tendered paychecks by the Defendants in

N
¢G

connection with the Production that did-not comply with section 226 of the Californ~ia

 

 

7
COMPLAINT

 

 

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Labor Code.
PLAINTIFF’S CLASS AC'I__'ION ALLEGATIONS
(28) The Class represented by Plaintiff consists of all natural persons who were
employed by Slaughter LLC.
(29) Plaintiff contends that the failure of Defend'ants to make payments within the
time provided for in Californla Labor Code § 201 has been and is “wi`llful” within the
meaning of such word as used in section 203 of the Labor Code and that, accordingly,

each member of the Plaintiff Class is entitled to the “continuing wages” provided for in

_....S_ec_t_iéh 203'_ _ ___ __ _

` (30) 'I'he number of persons within the Class is great, believed to be in excess of

50 persons It is, therefore, impractical to join each member of the class as a named
plaintiff Ac`cordingly, utilization cfa class action is the most economically feasible
means of determining the merits of this litigation

(31) Despite the numerosity of the Class Mernbers, membership within the
Plaintiff Class is readily ascertainable through an examination of the records which
Defendants are required by law to keep and which it has keptl Likewise, the dollar
amounts owed to each plaintiff are readily ascertainable by an examination of the same
records.

(32) The Class is proper insofar as common questions of fact and of law
predominate over individual issues regarding the money owed to each class member.

(33) There is a well-deii'ned community of interest in the questions of law and fact
common to the Class. Th_e key questions are the same for each class member: (a) was
such class member an employee of Defendaiits in connection with the Production (b)
Was such class member discharged by Defendants? (c) Was such class member paid his
or her wages at the time of discharge as provided for in Section 201 of the California
Labor Code?'(d) Was such class member paid the overtime compensation owed by
Defendants? (e) Was such class member-paid his or her minimum and/or overtime wages
as required by the Fair_Labor Standards Act? (t) Have Defendants violated the

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mandatory requirements of Section 226 of the California Labor Code?

(34) Plaintiif’s claims are typical of the claims of the Class Members, which all
arise out of the same general operative facts, i.e., Defendants did not compensate their
employees as required by the California Labor Code and Fair Labor Standards Act,
Plaintiff has no conflicts of interest with the other Class Members and is able to fairly
and adequately represent the interests of such class.

(35) A class action is a far superior method for the fair and efficient adjudication

of this controversy for a number of reasons First, the persons within the class are

numerous `ar`id"jdind`"er"df `all"'of'thern'i's"'i'mpractical;"'S'econd", the"'disposition~ofall~ claims --~ -'

of the Members of the class in a class action rather than in individual actions will benefit
both the parties and the court. In that regard, the claims of each individual member of
the class are too small to litigate individually and the commencement of fifty or more
separate actions in this Court would lead.to an undue burden on scarce judicial
resources Further, the alternative of individual proceedings before the Labor
Commissioner is impractical inasmuch as that agency has insufficient resources to
promptly process such claims and, under the provisions of Labor Code § 98.2, if the
individual Class Members were to succeed in obtaining awards in their favor, such
awards my be appealed as a matter of right for a de novo trial in Superior Court, leading
to a multiplicity of such trials in that court. Further, absent class treatment employees
will most likely be unable to secure redress given the time and expense necessary to
pursue individual claims and individual Class-Members will likely be unable to retain
counsel willing to prosecute their-claims on an individual basis given the small amount
of recovery available to each individual class member. As a practical matter, denial of
class treatment will lead to denial of recovery to the individual Members of the class.
(36) The interest of each class member in controlling the prosecution of his or her
individual claim against Defendants is small when compared with the efficiency of a

class action.

 

COMPLAINT

 

 

 

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FLSA COLLECTIVE AC"I`ION ALLEGATIONS
(37) ln this collective action, Plaintiff seeks to represent all natural persons who

 

were employed by the Defendants on the Production and who were not paid in
accordance with the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 206 and 207,
within the relevant time period (“Collect-ive Action”).

(3 8) Plaintiff is similarly situated with the Members of the Collective Action in
that':

(a) Plaintiff and the Members of the Collective Action were employed by the

'Defendants;" '

(b) Plaintiff and the Members of the Collective Action were not timely
compensated for their hours under the FLSA; n

(c) Defendants knowingly and willfully violated provisions of the PLSA, by
not paying Plaintiff and the Members=of the Collective Action their correct
amount of wages when due;_

(d) As a result of the Det`endants’ policy and practice of withholding
compensation for all hours worked, including minimum wages and
overtime compensation, Plaintiff and the Members of the Coilective
Action have been similarly damaged in that they have not received all of
their earned wages to date;

(3 9) This action is maintainable as an “opt~in” collective action pursuant to 29
U.S.C. § 216 (b) as to claims for unpaid wages, liquidated damages, costs and attorneys’
fees under the FLSA.

(40) All Members ofthe Collective Action during the relevant time period should
be given notice and be allowed to give their-consent'in writing, i.e. “opt in,” the
collective action pursuant to 29 U.S.C. § 216 (b).

FIRST CAUSE »OF ACTI_O: _
(Continuin-g Wages, §§ 203=- et- seq-'., Cali-t;`ornia Labor Code)
(Against Defendant Slaughter LLC only)

(41) Plaintiff repleads, realleges and incorporates by reference each and every

 

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1 allegation set forth in the preceding paragraphs of this Complaint.

2 (42) Defe.ndant employed OSORIO and Class Members on the Production from on

3 or about December l, 2007, through on or about December 13, 2007. On or about

4 December 13, 2007, Plaintiff and Class Members were discharged from the Production,

5 and were not provided any return date. Defendants did not pay Plaintiff earned Wages as

6 required by sections 201 and/or 201 .5 of the California.Labor Code. The Class Members

7 were discharged in the same manner and were not paid their earned wages as required by

8 sections 201 and/or 201.5 of the California Labor' Code.
9`" ` (`21"3`)`""Ijefen"cléiits""failiiiié"t'o`ooiiipén"s‘at"e`"`l’laifiti'&"andtheClassMembers with'in"the"" "' "
10 time provided for in sections 201 and/or 201.5 of the California Labor Code, despite

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their knowledge of their obligation to do so, was “willful” as the word is used in~§ 203.

 

12 (44) Plaintifi` and each Member of the Putative Class are, accordingly, entitled to
13 continuing wages from Slaughter LLC in an amount to be determined by proof.
14 SE.COND CAUS.E vOF AC_I`_ION
15 (Failure to Provide information on Pay Stubs, § 226 California Labor Code)
` (Against.Defendant S~laughter LLC only)
16 (45) Plaintiff repleads, realleges and incorporates by reference each and every
17 allegation set forth in the preceding paragraphs of this Complaint
18 (46) Slaughter LLC failed to provide Plaintiff and the other Class Members with
19 pay stubs conforming to the requirements of section 226 of the Labor Code.
20 Accordingly, Plaintiff and the other Class Members are each entitled to damages
21 according to proof, plus costs and reasonable attorney’s fees in accordance with the
22 provisions of california Labor code § 226 (e).
23 minn ~c~AUsE or racinng
24 (§§ 510 and 1194 ofthe'Ca'lifornia Labor Code, _
Damages for Unpaid` Minirnurn Wages and Overtime Compensation)
25 (Aga-inst Defendant` S.laugh~ter LLC only)
26 (47) Plaintiff repleads, reallages and incorporates by reference each and every
27 allegation set forth in the preceding paragraphs of this Complaint
28 (48) During their employment by Defendants on the Production, Plaintiff and the

 

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1 other Class Members worked many hours without receiving any compensation as
2 required by law. Slaughter LLC has failed to pay Plaintiff and the other Class Members
3 their minimum wages and overtime wages as required by sections 510 and 1194 of the
4 Labor Code.
5 (49) Plaintiff and the other Class Members are entitled to recover their unpaid
6 minimum wages and overtime wages in an amount to be established by proof, liquidated
7 damages under section 1194.2 of the California Labor Code and their costs and
8 attorney’s fees as provided for in section 1194 of the California Labor Code.
' 9 ~ ' " FOURTH C;AUSE OF ACTION " ' '
10 tv relation of F air Labor Standar-ds Act, 29 U. S. C. § 206, F ailure to Pay Mmimum Wage)
(Against all Defendants)
n (5 0) Plaintiff repleads, reallege and incorporate by reference each and every
12 allegation set forth in the Complaint.
13 (51) Defendants, by not paying Plaintiff and the Members of the Collective Action
14 the wages due and owing to them, have violated the F air Labor Standards Act by failing
15 to provide at least minimum wages as required by 29 U.S.C. § 206.
15 (52) Plaintiff and the Members of the Collective Action are therefore entitled to be
17 paid their minimum wages, liquidated damages, attorney’s fees and costs, in accordance
13 with 29 U.s.c. § 216 (b).
19 m'_rH cAUsE oF ACTIoN
20 (V relation of Fair Labor Standards Act, 29 U S. C § 207, Failure to Pay Overtime)
21 (Against all Defen'dants)
(53) Plaintiff repleads, real»leges and incorporates by reference each and every
22 allegation set forth in preceding paragraphs of this Complaint.
23 (54) Defendants, by not timely paying Plaintiff and the Members of the Collective
24 Action the overtime wages due and owing to them,‘have violated the Fair Labor
25 Standards Act by failing to timely provide the overtime wages to Plaintiff and Members
26 of the class as required by 29 U.S.C. § 207.
:; (55) Plaintiff and-the Members of the Col_lective Action are therefore entitled to be
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COMPLAINT

 

 

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paid their overtime wages, liquidated.d_amages, attorney’s fees and costs, in accordance
with 29 U.S.C. § 216 tb).

SIX_TH CAUSE OF ACT!ON
(Restitution, D.isgorgement of Prolits and Injunctive Reiiet`, _§17200 et seq_. Califor.nia
Buslness & Proi`essions Code)
(Against Defendant Slaughter LLC only)

(56) Plaintiff repleads, realleges and incorporates by reference each and every

 

 

allegation set forth in the preceding paragraphs of this-First Amended Complaint.
(57) Plaintiff is suing in both his individual capacity and on behalf of the general

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(5 8) Begin'ning on a date unbeknownst to Plaintiff, S'laughter LLC committed acts
of unfair competition as defined in Busine-ss and Professions Code § 17200, by engaging

in the following acts and practices: (1) failing to pay its employees all earned and unpaid
wages at the time of layoff and/or discharge;. (2») fai-l-i.ng‘to timely pay its employees their
minimum wages and overtime wages; and (3) failing to provide its employees with a
detailed itemized pay stub.

(59) The acts and.practices as described in the paragraph above violate Business &.
Pro.fessions Code § 17200 in the following respects:

a. - Defendant’s policy and practice of failing to pay its discharged
employees all earned and unpaid wages immediately upon discharge in accordance with
§ 201 of the California Labor Code and, consequently, constitute an unlawful business
act or practice with the meaning of Business and Professions Code § 17200.

b. Defendant’s policy and practice of failing to pay employees overtime
wages violate §§ 510 and 1194 of the Calii`ornia Labor Code and Wage Ordcr 12, and,
consequently, constitute an unlawful business act or practice within the meaning of
Business and Professio'ns Code § 17200.

c. Defendant’s policy and practice of failing to provide its employees
with a detailed itemized pay stub violate § 226 of the California Labor Code and,

consequently, constitute an unlawful business practice within the meaning of Business

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aid Professions code §17200.

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2 (60) Under § 17200 et seq. of the Business and Professions Code, this Court is
3 authorized to enter such judgment or order as may be necessary to restore to any person
4 in interest the money or property acquired by Defendant through its unlawful and unfair
§ 5 business practices alleged herein.
6 _
7 WHEREFORE, Plaintiffs praysjudgment as follows:
3 (1) 'Ihat this Court certify-the proposed Plaintiff Class.
_ __ 9___ . _(._2)__That_this__@0m eepc_igy_the_pr@paged_gol_;e@t,ive_Aegen;_ ,_ _ _ __ _ _. _ _ __ _ __
10 (3) That, under the First Cause of Action, it be adjudged that the failure of `
_____ 11 Slaughter LLC to make timely payments of Plaintiff s wages was in violation of the law
12 wages within the time prescribed in sections 201 and/or 201.5 of the Labor Code, and

 

 

13 was “willful” as that word is used in § 203 of the Labor Code, and that the Court enter
14 judgment in favor of Plaintiff and Class Members in an amount equal to not more than
\ 15 30 times their average daily wage, as prescribed by § 203 of the Labor Code.

16 (4) That, under the Second Cause of Action, the Court enter judgment in favor of

17 Plaintiff and the Class Members in an amount to be established b.y proof, costs, and

18 attorneys fees, in accordance with Section 226(e) of the Labor Code.

19 (5) That, under the Third Cause of Act-ion, this Court enter judgment in favor of

20 Plaintiff and Class Members their unpaid overtime wages and or minimum wages,'

21 liquidated damages, interest thereon,_ reasonable attorneys' fees and cost of suit.

22 (6) That, under the Fourth 'Cause of Action, this Court enter judgment in favor of

23 Plaintiff and the Members of the Collective Action in an amount equal to their minimum

24 wages, liquidated damages, costs, and attorneys’ fees, in accordance with 29 U.S.C. §

25 216 (b). _

26 (8) That, under the Fifth Cause of Action, this Court enter judgment in favor of

27 Plaintiff and the Members of the Collective Action in an amount equal to their overtime

28 wages, liquidated damages, costs, and attomeys’ fees, in accordance with 29 U.S.C. §
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216 (b).

(9) Pursuant to Business and Professions Code § 17203, and pursuant to the
equitable powers of this Court, Plaintiff prays that the Slaughter LLC be preliminarily
and permanently enjoined from (1) failing to pay its employees all earned and unpaid
wages at the time of their discharge; (2) failing to pay its employees overtime wages; and
(3) failing to provide its employees with itemized pay stubs. Ftuthermore, pursuant to
Bus-iness and Professions Code § 17203,. and pursuant to the equitable powers of this

Court, Plaintiff.prays that Slaughter LLC be~o'rdered to restore to the general public all

` "'fuiids'acquired"by means'"of'any"act"or'p'ra'ct'rce‘dec'lared'~by"this'€ourt"to"be"unlawful"'or " "

to constitute unfair competition under Busi-ness and Prof_essions Code § 17200 et seq.
(10) For such other and further relief as this Court may deem fit and proper.
Plaintiff demands trial by jury as to all causes<of aetion.

DATED: January 3.1, 2008 HARRIS & RUBLE

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Alan Harris
Attomey for Plaintiff

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SUPER!OR COURT OF CALlFORNIA, COUNTY OF LOS ANGELES
NO'I`(CE OF CASE ASSIGNMENT ~ UNLIM]TEI) CIV.IL CASE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case Number gcd(? .
’l`HlS FO_RM lS '1`0 BE SERVED WITH THE SUMMONS AND C_OMPLAINT ¢)\)>5
Your case is assigned for all purposes to the judicial officer indicated below. There 15 additional information on the reverse side of this form.

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l Hon, Conrad Aragon 49 509 iion. Ernest M. Hiroshlge ' 54 512
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Hon. Kcvin C. Brazile 20 310 »Hon. Charles C. Lcc 33 409
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lion. Susan Bryant-Dcason 52 510 Hon. Rita Miller 16 306
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{ Hon. ludith C. Chirlin 19 31 1 Hon. Mary Ann Murphy 25 317
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Hon, Wil1iam F. Fahcy 78 730 Hon. Teresa Sanchez-Gordon 74 735
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Hon. Edward A. Fems 69 621 Hon. Ronald M. Sohigian 41 417
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*Class Actlons
Given to the Plaintiff/Cross-Complainant/Attomey of Record on JOHN A\ CLARKE, Bxecutive Of`licer/Clcrl<

By Deputy Clerk

 

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.~`_ ."_{NS'l`RUCT[ONS FOR HANDLING UNLIM{'I`ED C 1 VIL CASES

’1'he following critical provisions of the Chapter Seven Rules, as applicable in the Ceurral Distrch are summarized for your assistance

APPLI_CATION

 

T`he Chapter Seven Rules were effective January 1, 1994. 'l`hey apply to all general civil cases

PRIORITY OVER OTH_ER RULES

 

The Chapter chen Rules shall have priority over all other Local Rules to the extent the others are inconsistent

CHALLENGE 'l`O ASSIGNED JUD'GE

A challenge under Code of Civil Procedure section 170.6 must be made within 15 days alter notice of assignment for all purposes to
a judgc, or if a party has-not yet appeared, within 15 days of the first appearancel

TIM-E S'l`ANDARDS

 

w Clases'assigned'to"the lnd\vidualCalendarmgCourtwlll be subject to processing under the following time standards:
COMFLAIN'I`S: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing
CROSS-COMPLA{NTS: Withoux leave of court first being obtained, no cross-complaint may be filed by any party after their

answer is filed. Cross~complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the
filing date.

A_Status -Conference will be scheduled by the assigned independent Calendar .|udge no later than 270 days alter the filing of the

complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial dute, and expert witnesses

FINAL STATUS C()NFERENCE

 

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'l`he Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all
motions in limine, bifurcation motions,` statements of major evidentiary issues, dispositive motions, requested jury lnstructions, and
special jury instructions and special jury verdicts These matters may be heard and resolved at this conference At least 5 days
before this conference, counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief
statement of the case to be read to thejury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

SANCTIONS

 

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Seven Rules, orders made by the
Court, and time standards cr deadlines established by the Court or by the Chaptcr Seven Rules. Such sanctions may be on a party or
if appropriate on- counsel for the party

Thls is not a complete delineation of the Chaptcr Seven Rules, and adherence only to the above provisions is therefore
not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Carel'ul reading and
compliance with the actual Chapter Rules is absolutely imperative

*C|ass Actions
All class actions are initially assigned to lodge Victoria Chaney in Department 324 of the Central Civil West courthouse (6'00 S.

 

Commonwealth Ave., Los Angeles'90005). 'l`his assignment is for pretrial purposes and for the purpose of assessing whether or not
the case is complex within the meaning of Califomia Rules ol" Court , rule 3.400. Depending on the outcome of that assessment the

class action case may be reassigned to one of the judges of the Complex Lit'igation Program or reassigned randomly to a court in the
Central District.

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from the
Los ANGELES SUPER/oR COURT
ADR DEPARTMENr

|f you have a general jurisdiction case involving one of these 6 subject
matter areas:

~ employment ¢ trade secrets
~ medical malpractice » unfair competition

Your case may be eligible for the court’s pilot
Early Ne»u»tral E valuation .(ENE) program.

0 ENE can reduce litigation time and costs and promote
settlement

0 ENE is an informal process that offers a non-binding evaluation by
an experienced neutral lawyer with expertise in the subject matter of
the case. After counsel present their claims and defenses the
neutral evaluates the case based on the law and the evidence.

0 ENE is voluntary and confi'dential.

0 The benefits of ENE include helping to clarify, narrow or eliminate v
issues, identify areas of agreement offer case-planning suggestions
and, if requested by the parties, assist in settlement

0 The first three (3) hours of the ENE session are free of
charge.
See back for a list of participating pilot courthouses and departments

For additional ENE information visit the Court 's web site al www.Iasugeriorcourt.org/adr

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PAR'rlchA'rlNG PlLoT CouRTHousEs:

(General Jurisdict|on Case Only)

l Ch'atsworth

l Pomona

l Sa'nta Mo'nic.a

- Van N.uys

l 'St'a'nl'e§y‘ 'M'Osk (Departments iisted below on|y.)
Department 15
Department 16
De-partment 28
Depa'rtment 30
Department 31
Dep_artment 32
Department 38
Department 42
Depar“cment 47
Department 50
Department 52
Depa'rtment 55
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Department 71
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LOS ANGELES SUPE_R|OR COURT
C|VlL ALTERNAT|VE DiSFUTE RESOLUT|ON (ADR) PROG'RAMS

[CRC 3.221 information about Alternative Dispute Resolution]
The plaintiff shall serve a copy of the ADR lnformation-pacl<age on each defendant along with the complaint

ADR PROGRAMS

 

"Altemative Dispute Resolution (ADR)" is the term used to describe all the other options available for settling a dispute
which once had to be settled in court ADR processes such as arbitration. mediation, eariy neutral evaluation (ENE), and
settlement conferences, are less formal than court and provide opportunities for litigants to reach an agreement using a
problem-solving approach rather`than the more adversarial approach of litigation.

MEoiArroN A neutral third party called a “mediator" helps participants in the dispute create their own resolution. The
mediator helps facilitate a` discussion in-which the parties-reach a.mutually agreed upon settlement
Therefore, mediation allows for more creative resolutions to disputes than other ADR processes

The Court Mediatlon,Program is governed b_y.Code of Civil Procedure sections 1775~1775.15. California
R.ul_e_S..of__C_our.t...Ruies..3.8.50:3.8.68and.3.820£.818;.Evidence---Code-~sections--1-1-1-5--1--1-28,-4 and--|_-os - --
Angeles Superior C_ourt Rules. Chapter 12.

ARB|TRArioN A neutral third party called an “arbitrator" listens to each side in the dispute present its case. The
arbitrator, -who is an attorney, issues a.decision based on the evidence Although evidence is presented,
arbitration is a less formal process than litigation The decision is non-binding unless the parties agree in
writing to binding arbitration.

The Court Arbitration Program i_s governed by Code of Civil Procedure sections 1141 .10-1141.31.
California-Rules of Court, Rules 3.8-10-3.830, and Los Angeles Superior Court Rules, Chapter 12.

ENE A neutral third party called an “evaluator" will provide the parties and their counsel, on a voluntary basis
and in a confidential session. the opportunity to make summary presentations of their claims and
defenses including key evidence. After hearing the presentations the evaluator, who is an experienced
lawyer with subject-matter expertise offeree non'bindlng evaluation

The evaluator will also help clarify, narrow or eliminate issues\ identify areas of agreement offer case-
planning suggestions and, if requested by parties, settlement assistance Although settlement is not the
primary goal of ENE. the ENE process can reduce litigation time and costs and promote settlement

`l`he Court ENE Program is governed'by Los Angeles Superior Court Rules. Chapter 12.

SEYrLEMENT A neutral third party called-a “settlement oft”rcer," who is.also a retired judge. assists the parties in
CoNFEREN'cr-; negotiating their own settlement and may evaluate the strengths and weaknesses of the case.

JUR|SDICT|ONAL LlMlTATlONS

MEpiArloN, Any case in which the amount in dispute.is between $25.000-$50,000 per plaintiff. and was not previously
AaeirRAnoN referred to the Court ADR Program. can be sent to the Court ADR Program for mediation, arbitration, or
a ENE by stipulation, election by plaintiff or order of the court

ENE

Parties may voluntarily request or initiate a mediation or arbitration proceeding regardless of the amount
in dispute

SETTLEMENT Any case, regardless of the amount in dispute, may be ordered to a settlement conference There is no
CONFERENCE monetary limit.

REFERRAL lNFORMAT|ON

 

After the Court determines the suitability of a case for ADR, the Court directs the parties to the ADR Departmen't to initiate
the ADR process. Once the parties have completed the ADR intake forms, a Neutral may be selected

ADR 005 10¢03 Paga 1 012
LASC Approved
(Rev. 01 -07)

 

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NEUTRAL SELECT|ON

 

Paities may select a mediator or arbitrator from the Court Perty Pay Panel or Pro Bono Panel or may hire someone
privately, at their discretion Parties are assigned to a settlement officer by court staff.

COURT ADR PANELS
PARTY PAv The Party Pay Panel consists of mediators and arbitrators who have achieved a specified level of
PANEL experience in court-connected cases. The parties (coltectively) may be charged $lS0.00 per hour for the

first three hours of hearing time. Thereafter, the parties may be charged for additional hearing time on an
hourly basis at rates established by the mediator or arbitrator it the parties consent in writing.

PRo BoNo The Pro Bono Panel consists of trained mediators and arbitrators who have not yet gained the experience

PANEL to quality for the Party Pay Panel and experienced mediators and arbitrators who make themselves
available pro bono_ Mediaiors end arbitrators donate their time to the courts as a way of supporting the
judicial system. lt is the policy of the Court that all pro bono volunteer mediators and arbitrators provide
three hours hearing time per case. Thereafter, the parties may be charged for additional hearing time on
'an» hourly basis'at-»rates~-est-ablished by-the -mediato:_or_~arbilrator _if»..the,.parties..consentin.writing. _

ENE The Court ENE Panel consists of experienced lawyers who have been trained to serve as neutral
evaluators. The evaluators provide preparation time and threehours hearing time per case at no charge
Thereafter the parties may be charged for additional hearing time on an hourly basis at rates established
by the evaluator if the parties consent in writing.

PRivATE The market rate for private neutrais can range from $200~$1,000 per hour
NeuTRAL

For additional intorma'tion, visit the Court.ADR web application at 'www.iasuperiorcourt.org (click on ADR),

Partially Funde'd by the Los Angeles County Dispute Resolution Program

ADR 005 10-03 1 Page 2 ot 2
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nw ,

 

 

 

 

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LCS ANGELES. COUNTY
DiSPUTE RESOLUTION PROGRAMS ACT (DRPA) CONTRACTORS "

The following organizations provide mediation services under contract with the Los Angeles County
Department of Community & Senior Services. Services are provided to parties in any civil case filed in the Los
Angeles County Superior Coun. Servioes are not provided under this program to family, probate, traffic,
criminal, appellate mental heelth, unlawful detainer/eviction or juvenile court cases.

Asian-Pacific American Dispute Resolution Center

(213) 250-8190
(Spanish & Asian languages capabiiily)

Caiifornia Academy of Meci’iation Professionais
(818) 377-7250

(81-3) 380-1840

inland Valieys Justice Center
(909) 397-5780
(Spanish language capability)

Office of the Los Angeles Ci'ty Attorney Dis-pute Resolution Program
(213) 485-8324
(Spanish language capability)

Los Angeles County Bar Association Dispute Resolution Services

toll free number 1»877-4Resolve (737-6583) or (21 3) 896-6533
(Spanish language capability)

Los Angeles County Department of Consumer Affairs
(213) 974-0825
(Spanish language capability)

The Loyo|a Law Schooi .Cen-ter for Confiict Re'soiution
(.213) 736-1145
(Spanish language capabiiily)

Niartin Luther King Legacy Association Dispute Resoiution Center

(323) 290~4132
(Spanish language capabilily)

City of Norwalk
(562) 929-5603

 

' DRPA Contractors do not provide legal advice or assistance, including help with responding
to summonses. Accessing these services does not negate any responsibility you have to
respond to a summons or appear at any set court date. See the reverse side of this sheet for
information on the mediation process and obtaining legal advice.

 

 

 

TH|S |S A TWO-S|D'ED DOCUMENT.

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‘ l

 

What is the goal of mediation?

The goal is to assist the parties in reaching a mutually acceptable agreement or understanding on some or all
of the issues. The parties jointly become the primary decision maker in how to resolve the issues as opposed to
the traditional judge and/or jury system.

 

Do l need an attorney for this?

While it is recommended to have an attorney and/or receive legal advice before the mediation starts, you are
not required to have representation if you do have an attorney, they may participate in the mediation with you.

 

How long does it take?
Face-to-face mediations generally last one to three hours. Telephone conciliations. in which the parties do not

and the complexities ot the issues When the mediation takes place depends on parties scheduling availability

 

----meet--face--to--»face,-»_var-y-~from--e--few-day-s-to~several~-weeks»;--Much~depends~on~-lhenumberof-parties»invoived 1 ~ ---~---~-

 

 

A Mediator helps parties.

.Have productive discussions

¢Avoid or break impasses

0 Defuse controversy

+Generate options that have potential for mutual gain
.Better understand each other's concerns and goals
4 Focus on their interests rather than their positions

A Mediator does not.._

.Provlde advice or opinions

o~Offer legal information

o Make decisions for parties

0 Represent or advocate for either side
dodge or evaluate anyone or anything
o Conduct research

. "Tai<e Si'des”

 

What does it cost?

The first three hours of any mediation are free.
Thereafter. charges are based on income or revenue.
All fees are waived for low-income individuals

 

~ What is the difference between the contractors
listed and the Superior Court ADR Office?

The services offered by the contractors listed may be
accessed immediately Those offered by the Superior
Court ADR thce. also a DRPA contractor may not
be accessed by parties until,a court appearance or at
the directive of the judge assigned to the case.

 

Legai Advicellnformation

if you want to retain an attorney, a list of state
certihed referral services is at gourtinfo.ca.gov which
also has an on~iine self help legal center

` Self~Heip Legai Access Centers are at the

lng|ewood, Palmdale, Pomona, and Van Nuys
courihouses. nls~ia.org and lafia.org

Court Personnel can answer non-legal questions
(forms. fees. fee waivers). lasugeriorcourt.org~

Low¢income individuals may qualify for help from
non-profit legal organizations Court Personnel and
DRPA contractors have such listings

 

 

Dispute Resolution Programs Act (DR-P-A) -Grants Administration Office
(213) 7'38~2621
(The DRP Oftice is not a Superior Court Otfice. Consutt your phone directory to locate the number ot the Court Offica on your
summons.') .

 

 

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ATTORNEY FOR (Name):

SUPER|OR COURT OF CA_LIFORN|A, COUNT¥ OF LOS ANGELES

 

 

 

 

 

 

 

 

 

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oEFeNo/\Nr;
ST|PULAT|ON TO PARTlClP-ATE iN °"SE "“""°ER: 4
ALTERNAT|VE DlSPUTE RESOLUT|ON (ADR) _ , `_l

 

The'undersigned‘parties"stipul'ate'to"pa'rticip'a'té"in"`ai‘l"`A`lt§rn"ativ"e"`i'jls'pute §esoiution (Aljl?l process in the above-entitled

action, as follower
[:] Mediation
[:] Non-Binding Arbitration
ij ending arbitration
E] Early Neutral Evaiuatlon
I:l SettlementConference
l:] Oiher ADR Process (describe):

 

Dated:

 

Name oi Stipulating Party Name of Party or Attome`y'Executing Stipuiatlon Slgnature of Parly or Attomey
[:] Plaintiff [] Defendant L`_] Cross-deiendant

 

 

Name ot Supulaling Party Name of P"art`y or Attomey'Executing Stlpuiation Slgnature of party or Attorney
L'_`l Plaintiff ij Defendant [] Cross~deiendant

 

 

Name of Stipulaling Party Name‘of Party o_r Attorney Executlng`Stipuiatlon Signature of Party or Altomey
[`_'] Plaintiff [l Deiendani [] Cross-delendanl

 

 

Name of Stipulating Party Name~oi.Perty or Attorney Executing Slipulation Signature of Party or Altomey
[] Plaintiff ij Dafendanl ij Cross-defendanl

l'_`l Additionai signsture(s) on reverse

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3 layman ALTERNATWE oispure R.Esoi_u'noiv (ADR) "

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\

 

Shorl Titie

 

Case Number

 

 

 

Name oi Slipulating Patty
[] Plaintiii I:] Defendani

D Crcss-deiendant

Name ct Pany orAttomey Executing Stipulation

Signsture ot Party or Allorney

 

Name ot Stipulating Party
ij Plaintiff [‘_'l Detendanl

Name Ol Stipulating Party

l:] Plainlili L`_l Oefendant

ij Cross-defendent

ij Cross-deiendant

Name of Party or Attomey Execuling Stlpulation

`N£r}té Br‘eéri§`&`}ii{t$}n`é§ é§é&}ilri§"s{§¢l}iéli&{ "

Slgnature ot Party or Attorney

""s`ignature or barry br`}ili¢'rnéy"

 

Name ol Slipulating Party
l___] Plaintifi f:] Defendant

[:] Cross-deiendant

Name of Party or Atlomey Execuling Stipuiation

Signature oi Party or Attomey

 

 

Name of Stipulatlng Party_ Name of P`arty or Attorney Ex`ecuting Stipuia'tion Signature of Party or Attomey
I:] Plaintiti l:] Deiendant [:l Cross-deiendant
Name of Stipuiating Party Name of Party or Attomey Execuling Stlpulation Signature of Party or Attorney

[] Plaintiff ij Detendant

[:] Cross-deiendanl

 

Name al St|pui_atlng Party
[:] Plaintiff [:] Detendant

[:1 Cross»deiendant

Name of Party or Attorney Executing Stipulstion

Signature of Party or'Attorney

 

Narne el Stipulaling Party
iii Pialnuri ij oerendam

[;] Cross-deiendant

Name di Pany or Attomey Executing Stipulaiion

Signature of Pany or Attorney

 

Name ol Stipuiating Party
C] Plaintiff [] Deiendant

ij Cross-defendant

Name oi Perty or Attorney Exacuting Stipulation

Signature of Party or Ailomay

 

Name ot Stipulaling Party
ij Plaintiff C] Dei'endant

ADR 001 i0~04
LASC Approved
-o_,» (Rev. 01-07)

-..,./

l`_`l Cross~defendani

ALTERNAT|VE DISF’UTE RESOLUT|ON (ADR)

Name ot Party_ or Attorney Exeouting Stipulation

STIPULAT|ON TO PART|C_|PATE iN

 

 

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Cal. Rulas of Court. rule 3.221
Page 2 ol 2

 

 

Case 2:08-cV-01644-RGK-A.]W Document 1 Filed 03/10/08 Page 36 of 44 Page |D #:38

EXHIBIT B

 

 

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'Alart' Harris §<SBN 146079

Matthew E Ravanaéugh (S)BN 239961)
5455 WiSlsé>LhireUB Blvd, Suite 1800
Los An n§eles, CA 90036
Tel: 32 931 3777
Fax: 323. 931.3366'

Attorneys for Plaintiff

s‘wsmok`couRr or THE sTATE or cALIFoRNIA
` FOR THE coUNTY 0F Los ANGELES

CENTRAL DISTRICT
IUAN OSORIO, individually and » Case No.. ' BC 384733
011 behalf of all others similarly
situated NOTICE OF CASE MANAGEMENT
` _ CONFERENCE
Pla1nt1ffs,
' Case Assigned to: the
vs. Honorable Edwa.rd A Fems
.SLAUGHTER, LLC MAVERICK
F,ILMS LLC. ANGEL BABY Date: Jul 9, 2008
ENTE ER’TAINMENT NTMARK Ttme. 8. ca
MORGAN, cHERI WozNIAK and Piace. 111 N`. 11111 street
DOE ONE throu h and including Department 69
HUNBRED Los Angeles, CA 90012

DOE ONE
' Defendants.

 

PLEASE TAKE NOTICE THAT the Court has set a Case Management
Conference for July 9, 200'8, at 8:3 Oam in Department 69 ofthe Stanley Mosl<
Courthousc, which is located at 111 N, Hill Street:, Los An.ge.les, California (attached).

DATED; Febmary 26, 2008 HARRIS & RUBLE

_.%y _//é/t., /%

Alan Harris
Attorneyfor Plaintz]j"

v . 1 _
NOTI.CE OF CASE MANAGEMENT CONFE'RENCE

 

 

 

 

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paint-nat men '

NOTICB SENT TO: l - ' l FILE STAMP

Harrie, Alan, Esq. _ . - ` _ -
Law Offices of -Harris & Rt).ble 'FEB 212008
5455 Wilshire Blvd., Suil:e 1800

nos Angelee/ _ CA 9°°36 v ' b L@SANGLS

Ql ll~!\‘§‘P"lAr*\

suPEmon count 01= cAL\FoanA, cout\l‘f`t"oi¢',i}t')"s"dnte"""-

 

 

 

_ cAs`e NUMBBR
JUAN OSORIO
Plaintiff(s), BC384'733
VS.
gravamen LLC ar _AL ~ NoTlcE oF cAsE

Defeodant(s). MANAGEMENT CONF.ERENCE

 

 

TO THE PLA]NI'IFF(S)/A'I`TORNEY(S) FOR PLAINT[FF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record fonhwitlt, and meet and confer with all partiesl
attorneys of record about the matters to be discussed no later than 30 days before the Case Managemcnt Conference.

Your Case Management Conference has been scheduled for July 9, 2008 at 8:30 am in Dept. 69 at
ill N. H‘tll Street. Los lAngeles. Califomia 90012.

 

Pursuant co Califomia Rulcs of Court, 3.720-3.730, a completed Case Managemcnt Statement (Iudicial Council form fl CM-l 10)
must be filed at least 15 calendar days prior to the Case Managemcnt Conference. The Case Management Statcment may be filed '
jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the case and be
fully prepared to participate effectively in the Case M-anagement Conference.

At the Case Management Conferenoe, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Altemative Dispute Resolutlon (ADR); an order reclassifying the
case; an order dismissing fictitious/unnamed defendants an order setting subsequent conference and the trial date: or other orders
to achieve the goals of the Trial Court Delay Reduction Act (GC 68600 et seq.) `

Notice is hereby given that if you do not tile the Case Management Statement or appear and effectively participate at the Case
Management Confercnce, the Court may impose sanctions pursuant to LASC Local Rule 7.13, CCP Sectio`ns l77.5, 575.2, 583.150,
583.360 and 583.410, GC Section 68608 (b). and Califor.nia Rules of Court 2.2 et seq. `

EOWARD A. FERNS

Date: Fehru____ary 21, 2008
Iudicial Oft‘tcer

 

CERTIFICATE OF SERVICE y
l, the below named Executive Officer/Clcrk of the aboveentltlecl court, do hereby certify that l am not a party to the cause hcrein,
and that on this date l served the Notice of Case Management Conference upon each party or counsel named ahove:

[ ] by depositing in the United States mail at the courthouse in bos Angeles. Califomia, one copy of thc original filed herein in a
separate sealed envelope to each address as shown above with postage thereon fully prepaid. -

- [ ] by personally giving the party notice upon filing the complaint.

 

Date: Febm§ry 21, 2008 l - John A. Clarke, Executive Officer/Clerk l
` by A- AYALA ,Deputy c1er1<
LAcrv 132 nuv. 01101)` ca1 ames orcoun, miss.no.a.iso ' `

LASC Approved 10-03 ' LASC Lneal Rules, Chapmr S'even

 

 

» ` ‘Case 2:08-CV-01644-RGK-A;JW Document 1 Filed 03/10/08 P?atge 39 of 44 Page |D #:41

 

' .1 ` _' _ `, “ ;PRoOF 0FsERvICE.

 

the within action. M business address is Harris Ruble 5455 Wils.i_re Blyd., uite
1800, Los An(geles_ alifornia- 90036. On Februarg 26 2008,'1 served the within
document: N rich or CAsE MANAGEMENT oNrERENCE. '

I ant an attorney for Plaintiff(s) herein, over the a§`ce of eighteen years and not a arty to

.I caused such document to be delivered by hand in person to:
'N/A. ' '

I caused such’document to be delivered by e-mail or facsimile:
N/A. '

""'I`air'i'i'éadicll`y familiar with the"Firm'st`lpractice of collection and processing

m corresan ence for mailing -Under at practice it would be deposited with the U.S.
-Postal Sei'vice on that same day with postage thereon fully prepaid in the ordinary
11 course of business, addressed as follows:

;12 Slau ter, LLC

c/o .ark_ Morgan th

13 11400 Olympic Blvd., 14 FL
Los Angeles, CA 90064

14 Mavericl< .Filtns, LLC

15 c/o Mark Morgan_ - th

' 11400'01'~'pr1cB'lvd., 14 FL
16 ’Los Ange es, CA 90064

17 Mark Morgan' th
11400 Ol_ .rripic Bl_vd., 14 FL
18 vLos Ange es, CA 90064

1a l Cheri Woznia_k ~ th
11400 Olympic Blvd., 14 FL
t 20 Los Angeles, CA 90064

21 An el Bab Entertainment _
37 S.En Street Ste.#llM
22 New Yori<, NY 16280

23 I declare under enal of perj that the above is true and correct Executed on
February 26, 2 8, at os Ange es, Californta. '

\ooo\i'o\ut`e.o.)t\)

 

24 `
26 _ 1 y ~ 4 n Alan H`a-rrls

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28 n

NOTICE QF CASE MANAGEMENT CONFERENCB

 

 

 

 

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' l AMlan Harris §SBN 146079$)
tthew E&. Ravanaugh ( BN 239961)
2 HARRIS
5455 Wilshire Blvd., Suite 1800
3 Los An eles, CA 90036
Tel: 32 .931.3777
4 Fax: 323.931.'3366
5 Attomeys for Plaintiff
6
7
SUPERIOR COURT OF THE STATE OF CALIFORNIA
8
FOR THE CO`UNTY OF LOS ANGELES
- 9
CENTRAL DISTRICT
10
JUAN OSORIO, individually and Case No.: BC 384733
1-1 on behalf of all others similarly _
situated NOTICE OF ORDER DEEMING CASE
12 NON-COMPLEX AN.D REASSIGNING
Plaintiffs, CASE
13 -
~ vs.
14 Case Assigried to: the
_ SLAUGHTER, LLC., MAVERICK Honorable Edward A. Ferns
15 FILMS, LLC., ANGEL BABY
ENTERTAINl\/£ENT MARK
16 MoRGAN CHERI wozNiAi< and
DOE ONE Mthtou§ hand including
17 DOE ONE HUNRE
13 Defendarits.
19 '
20
21 TO ALL PART.[ES AND TO ALL PARTIES ATTORNEYS OF RECORD:
22 PLEASE TAKE NOTICE that the Court has issued the attached Notice of Entry of Ordcr
23 deeming the case non-complex and reassigning the above-captioned matter to the
24 Honorable Edward A. Fertis in Department 69 of the Stanley Mosl< Courthouse, 111 N.
25 Hill St., Los Angeles, CA 90012. _ '
26 DATED: February 26, 2008 ' HARRIS & RUBLE
27 By:/§{/@w M?/\/i/A
ByAlan Harris
28 Attorneyfor Plczz`riz‘z'jjf
l

NOHCE OF ORDER DEEM!NG CASE NON-COMPLEX ANlj REASS.{GNING CASE

 

 

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,#' _.' . ' l `
SUPER|OR COURT OF CAL|FORN'|A, COUNTY OF LOS ANGELES
\ ` v ' ` _ '
DA'i'F.: 02/08./08 ` DEPT. 324
iioNoitAuu=. VICTORIA CHANE’Y iunoa L. HIRONAKA- niava cLERK
noNonABLE ~ )uDGa rao ram l nLizc'rRONic necoiu)nvo MoNiTon
b Dcputy Shcrl NONE v b `Reporier
8:30 am BC384733 name
` Counsc|
JUAN OSORIO NO APPEARANCES
VS Dcfcnrlant '
SLAUGHTER LLC ET AL owns

.N.o,N-COMP_LEX 102 ,~_,O 8_- 081

 

NA’I'URE OF PROCEEDINGS:

COURT ORDER

This Court makes its determination whether or not thisw`
case should be deemed complex pursuant to Rule 3.400
of the California Rules of Court.

This case is designated non-complex and is reassigned
to Judge Edward A. Ferns in Department 69 at
Stanley Mosk Courthouse for all further proceedings.`

Plaintiff is ordered to serve a copy of this minute
order on all parties forthwith and file a proof of
service in Department 69 within five (5)-days of
service.

Any party objecting to the non-complex designation
must file an objection and proof of service in
Dopartment 324 within ten (10) days of service of this
minute order. Any response to the objection must be
filed in Department 324 within_seven (7) days of
service of the objection. This Court will make its
ruling on the submitted pleadings.

CLERK'S CERTIFICATE OF MAILING/
NOTICE OF ENTRY OE` ORDER

 

 

t MINUTES ENTERED
Page l Of 2 DEPT, 324 02/08/08
COUNTY CLERK

 

 

 

   

 

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_r"
Dxm:OZ/OB/OB _ _ DEFL 324
HoNoRABLs vI CTORIA CHANEY moss L . HIRONAKA ` nEPu'rY cLERK
moNoRAaLs moot mo TF.M ' _ ` swornon RECORmNG MoNrroxz
Dequ Sheriff NONE ' Reponcr
8:30 am BC384733 _ sums
Cn\mse\ `
JUAN OSORIO 1 NO APPEARANCES
VS Defcndan!

SLAUGHTER LLC ET AL Cuunsel

NON--COMPLEX (02 -.0.8-0~8)

 

 

NATURE OF PROCEEDINGS:

I, the below named Executive Officer/Clerk of the
above-entitled court, do hereby certify that I am not‘
a party to the cause herein, and that this date I
served Notice of Entry of the above minute order of
02~14“08Vupon.eachmpartywormcounsel named below by.. .
depositing in the United States mail at the courthouse
in Los Angeles, California, one copy of the

original entered herein in a separate sealed envelope
for each, addressed as shown below with the postage
thereon fully prepaid.

Date: 02~14~08
John A. Clarke, Executive Officer/Clerk

By: ».
KIN HILAIR.'E

H.ARRIS & RUBLE

Alan Harris, Esq.

5455 Wilshire Boulevard, Suite 1800
Los Angeles, California 90036

 

. ' ~ . MINUTES ENTEREo
Page 2-0£ 2 DEPT. 324 02/03/03
~ coUN'rY cLERK

 

 

 

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1 v PROOF OF SERVICE
2 I arn an attorney -for Plaintiff(s) `hercin, over the a§ce of eighteen years and not a ' atty to
3 the Withm action. M _b_usme'ss address is Ha_rris Ruble, 5455 Wllshire Blvd., uite
1800, Los Angeles al.lfornia 90036. On Febx'u 26, 2008 I served the within
4 document _N ,TICE oF oRDER D.EEMlNG cAs NoN-coMPLEX AND
REASSIGNING CASE. b '
5
6 `I caused such document to be delivered by hand in person to:
7 N/A.
3 I ca'_use_d_ such document to be delivered by e-mail or facsimile:
10 ' I am readil familiar With the Firm's practice of collection and processing
correspon ence for malling. Unde_r that practice it would be deposited with the U.S.
1 l Postal Service on that same day With postage thereon fully prepaid in the ordinary
course of business, addressed as follows:
12 Slau hter LLC
13 c/o ark l\/Iorgan th '
11400 Olympic Blvd., 14 FL
14 Los Angeles, CA 90064
15 ~ Maverick Films, LLC
c/o Mark Morgah th
16 l 1400 Olympic Blvd., 14 FL
Los Ange es, CA 90064
17 Mark Morgan_ th
18 11400 Olyrnplc Blvd., 14 FL
_Los Angeles, CA 90064
'19 Cheri Woznia__i< th
20 _ 11400 Olympic Blvd., 14 FL
Los Angeles,. CA 90064
21 An?el Bab Entertainment
22 37 S. Ell Sl.`l’€€t St€. #l lM
New Yorl<, NY 16280
23 l declare under enal of perju that the ab_ove is true and correct Executed on
24 February_ 26, 20 8, at os Ange. es, Califorma.
25
- Alan Harris _
27
~ 28`

 

l NOT!CE OF ORDER DEEMING CASE NON-COMPLI§X AND REASSIGNING CASE

 

 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF L()S ANGELES
1 am employed in the Count 'of Los Angeles, State of California. I am over the a%e of
8 and not a party to the _wit in action; my business address is 2049 Century Park ast,
#2100, Los Angeles, California 90067.

On Marché)é_;?ZOOS, 1 served the fore oin document(s) described as DEFENDANTS’

NOTICE REMOVAL OF A TI N on the interested parties in this action
addressed as folloWs:

Alan Harris, Es . Attorne s or Plainti

Matthew E. Ka\C/lanaugh, Esq. y f ff

HARRIS & RUBLE

5455 Wilshire Blvd., Suite 1800
Los Angeles, CA 90036
Telephone: 323? 931-3777
Facsimile: 323 931-3366

By placing true copies thereof enclosed in a sealed envelope(s) addressed as
stated above.

BY PERSONAL SERVICE (CCP 1011): 1 caused tp be delivered such
envelope(s) by hand to the addressee s) as stated above.

l:l BY MAIL (CCP_§IOIS(a)&(b))_: I am readily familiar With the _fii'm’S

pjractice of collection and processing corres on ence for mailing .With t_he

.S. Postal Service._ Under that practice sue envelope(s) is deposited With

the U.S. postal service on the same day this declaration Was executed, With

posta e thereon _full_y repaid at 2049 Century Parl< East, #2100 Los
Ange es, California, in t e ordinary course of business

Executed on March _/Q, 2008 at Los Angeles, California

[l STATE) I declare under penal(tiy of perjury under the laws of the State of
alifornia that the above is true an correct

(FE]_)ERAL) I declare _that.I am employed in the office of a member of the Bar
of t_his Court at Whose direction the service Was mad_e. 1 declare under penalty of
perjury under the laws of the United States of America that the above is true and
correct

Barbara Washington M )///%

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NOTICE OF REMOVAL
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